Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 1 of 22 PageID #: 1




LAW OFFICES OF MITCHELL S. SEGAL P.C.
Mitchell Segal, Esq.
Law Offices of Mitchell Segal, P.C.
1010 Northern Boulevard
Suite 208
Great Neck, New York 11021
Ph. (516) 415-0100
Fx. (516) 706-6631
Attorneys for Plaintiff and the Class

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
________________________________________________
KENNETH T. CHAVEZ,
on behalf of himself and all others similarly situated,
                                                                Case No.:
                                            Plaintiff(s),
                                                                CLASS ACTION COMPLAINT
               -against-

MAYFLOWER BOUTIQUE HOTEL LLC
d/b/a MAYFLOWER BOUTIQUE HOTEL and
CROSSCITY HOTEL LLC,

                                   Defendant(s).
________________________________________________


                                          COMPLAINT

Plaintiff, KENNETH T. CHAVEZ (hereinafter “Plaintiff”), on behalf of himself and all others
similarly situated, by their attorney, the Law Offices of Mitchell S. Segal, P.C., hereby files this
Class Action Complaint against the Defendants MAYFLOWER BOUTIQUE HOTEL LLC d/b/a
MAYFLOWER          BOUTIQUE       HOTEL      and    CROSSCITY       HOTEL      LLC,     (hereinafter
“Defendants”) and states as follows:
                                       INTRODUCTION


1. This class action seeks retribution for the Defendants’ actions against the Plaintiff and other
individuals who suffer what constitutes a “qualified disability” under the American with
Disabilities Act of 1990. The Plaintiff is uniped and an amputee and uses a wheelchair for
mobility. The Defendants own and/or operate and/or maintain and/or manage the MAYFLOWER
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 2 of 22 PageID #: 2




 BOUTIQUE HOTEL, located at 3858 12th Street, Long Island City, NY 11101, (the “Hotel”)
 along with its website located at the domain of https://mayflower-boutique-hotel.business.site
 (the “Website”). The Website does not describe the Hotel in detail providing no information
 about the accessibility of the Hotel or rooms. The Website includes only pictures of rooms and a
 brief description of amenities but does not allow an individual to make reservations through its
 Website and does not provides information regarding the accessibility of the guestrooms. Other
 websites operated by third parties and allow individuals to use a reservation system to reserve
 rooms at the Hotel but also provide no information on accessibility (the Website and these third-
 party websites shall be referred to as the “Websites”).


2.     Pursuant to the American with Disabilities Act (the “ADA”) Defendant, as Hotel owners
and operator were required to update and modify its reservation systems, including its online
reservation systems in order to (a) identify and describe disabled accessible features of the Hotel
in detail; (b) identify and describe disabled accessible features of ADA compliant guest rooms in
detail; (c) permit disabled individuals to independently assess whether the Hotel and its available
guestrooms meet their individual accessibility needs (by describing accessible features or the lack
thereof); and (d) allow reservations to be taken for accessible guestrooms in the same manner as
for non-accessible guestrooms pursuant to 28 C.F.R. § 36.302 (e)(1). The Defendants have not
complied and discriminate against the Plaintiff and other disabled individuals in violation of the
rights granted under the ADA.


                                JURISDICTION AND VENUE


3.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §1331 and
42 U.S.C. § 12181 for Plaintiff’s claims which arise under Title III of the Americans with
Disabilities Act, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332 because this is a class action
defined by 28 U.S.C. § 1332(d)(1)(b), in which a member of the presumed Class is a citizen of a
different state of Defendants and the amount in controversy exceeds the sum or value of
$ 5,000,000, excluding interests and costs. 28 U.S.C. § 1332 (d)(2).
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 3 of 22 PageID #: 3




4.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 under the New York
State Human Rights Law, N.Y. Exec. Law, Article 15 (Executive Law § 290 et seq.) and the New
York City Human Rights Law, N.Y.C. Administrative Code § 8-101 et seq. (“NYCHRL”).


5.      Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §§ 1391 (b)-(c)
and 1441(a).

6.      The Court has personal jurisdiction over the Defendants in this action. Defendants transact
substantial business in this District through its Hotel, located in this District.

7.      Venue lies in this District pursuant to 28 U.S.C. §1391(a)(2), because a substantial part of
the actions and/or omissions giving rise to the Plaintiff’s claims occurred in this District.
Defendants have been and is continuing to commit the alleged acts and/or omissions in the Eastern
District of New York that caused injury and violated the Plaintiff’s rights and the rights of other
disabled individuals.

8.      This honorable Court has the authority to issue a declaratory judgment under 28 U.S.C. §§
2201 and 2202.


                                             PARTIES


9.      The Plaintiff, KENNETH T. CHAVEZ, was and is over the age of 18 years and is a resident
of New York County, New York.


10.     Plaintiff has at all herein suffered from a “qualified disability” as defined in the ADA under
42 U.S.C. § 12102(1)-(2), 28 CFR §§ 36.105, the New York State Human Rights Law and the
New York City Human Rights Law. Plaintiff is uniped, an amputee, and must use a wheelchair
or other motorized mobility device.


11.     The Defendant MAYFLOWER BOUTIQUE HOTEL LLC, is a Domestic Limited
Liability Company organized under the laws of New York and owning, operating and managing
the Hotel which is located at 3858 12th Street, Long Island City, NY 11101 and is authorized to
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 4 of 22 PageID #: 4




conduct business in New York. The Defendant owns and/or manages and/or operates and or
otherwise controls MAYFLOWER BOUTIQUE HOTEL and its Website.


12.    The Defendant CROSSCITY HOTEL LLC, is a Domestic Limited Liability Company
organized under the laws of New York and owning, operating and managing the Hotel which is
located at 3858 12th Street, Long Island City, NY 11101 and is authorized to conduct business in
New York. The Defendant owns and/or manages and/or operates and or otherwise controls
MAYFLOWER BOUTIQUE HOTEL and its Website.


13.    The Defendants own, manage, control and maintain the Website with the domain name
https://mayflower-boutique-hotel.business.site in conjunction with MAYFLOWER BOUTIQUE
HOTEL.

14.    The purpose of the ADA is to provide laws, standards and regulations which can provide
national guidelines in order to eliminate discrimination against individuals with disabilities.
Pursuant to 42 U.S.C. §12134(a), the Department of Justice, Office of the Attorney General
(“DOJ”), published revised regulations for Title III of the Americans With Disabilities Act of 1990
requiring, among other things, that public accommodations, including places of lodging, conform
to these revised regulations on or before March 15, 2012. Defendants’ Hotel is a place of public
accommodation that is required to conform to these regulations.

15.    A website is a place of accommodation defined as “places of exhibition and entertainment,”
places of recreation,” and “service establishments.” 28 C.F.R. § 36.201 (a); 42 U.S.C. § 12181 (7).

16.    The Plaintiff seeks injunctive and declaratory relief requiring the Defendants to correct the
barriers which prevent access for the disabled.



                              CLASS ACTION ALLEGATIONS

17.    Plaintiff, for himself and on behalf of others similarly situated, seeks class action
certification pursuant to the Federal Rules of Civil Procedure Rule 23(a) and 23 (b)(2) of all
disabled individuals in the United States that are unable to walk as a result of their disability and,
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 5 of 22 PageID #: 5




as a consequence, must use a wheelchair or other motorized mobility device and who have been
denied equal access to goods and services of the Defendants’ Hotel, Website and the Websites.


18.    Plaintiff, on behalf of himself and on behalf of all others similarly situated, seeks to certify
a New York State subclass under Federal Rules of Civil Procedure Rule 23(a) and 23 (b)(2) of all
disabled individuals in State of New York who are unable to walk as a result of their disability
and, as a consequence, must use a wheelchair or other motorized mobility device and who have
been denied equal access to goods and services of the Defendants’ Hotel, Website and the
Websites.

19.     Plaintiff, on behalf of himself and on behalf of all others similarly situated, seeks to certify
a New York State subclass under Federal Rules of Civil Procedure Rule 23(a) and 23 (b)(2) of all
disabled individuals in the City of New York who are unable to walk as a result of their disability
and, as a consequence, must use a wheelchair or other motorized mobility device and who have
been denied equal access to goods and services of the Defendants’ Hotel, Website and the
Websites.

20.    The Class is so numerous, being composed of millions of disabled individuals in the United
States that are unable to walk as a result of their disability and must use a wheelchair or other
motorized mobility device, that joinder of all members is impracticable, Additionally, there are
questions of law and/or fact common to the Class and the claims of the Plaintiff are typical of the
Class claims.

21.    Common questions of law and fact exist amongst the Class including:


            a. Whether the Hotel and Website are "public accommodation[s]" under the ADA
               and New York laws;

            b. Whether there was a violation under the ADA due to the barriers that exist
               at the Defendants’ Hotel and its Websites and whether the Plaintiff and the
               Class were denied full and equal enjoyment of the goods, services, facilities,
               privileges, advantages, or accommodations; and

            c. Whether there was a violation under New York law due to the barriers that exist
               on the Defendants’ Hotel and its Websites and whether the Plaintiff and the
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 6 of 22 PageID #: 6




                Class were denied full and equal enjoyment of the goods, services, facilities,
                privileges, advantages, or accommodations.

22.    The Plaintiff’s claims are typical of those of the Class as they both claim that Defendants
violated the ADA, and/or the laws of New York by failing to have its Hotel, Website and the
Websites accessible.


23.    Plaintiff will fairly and adequately represent and protect the interests of the Class members
as the Plaintiff and the Class are individuals having the same claims as they are unable to walk and
must use a wheelchair or other motorized mobility device.

24.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendants have
acted or refused to act on grounds applicable to the Class making declaratory and injunctive relief
appropriate.

25.    Questions of law or fact common to Class members predominate questions affecting
individual Class members and a class action will fairly and efficiently decide this action.

26.    Counsel for the Plaintiff is experienced representing both Plaintiffs and Defendants’ in
Class actions. As such the Class will be properly represented.

27.    Judicial economy will be served by maintaining this lawsuit as a class action as it will
prevent the filing of a voluminous number of individual lawsuits throughout the United States by
people who are individuals having the same claims as the Plaintiff all of whom are disabled, unable
to walk and must use a wheelchair or other motorized mobility device.



                                FACTUAL ALLEGATIONS

28.    Defendant is required by the ADA, its accompanying regulations contained in the Code of
Federal Regulations (C.F.R.), Architectural Guidelines and 2010 ADA Standards to ensure that its
place of lodging complies with the standards applicable to public accommodations and is
accessible to disabled individuals.
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 7 of 22 PageID #: 7




29.    28 C.F.R. §36.302(e)(l), which became effective on March 12, 2012, provides:
              “Reservations made by places of lodging. A public accommodation
              that owns, leases (or leases to), or operates a place of lodging shall,
              with respect to reservations made by any means, including by
              telephone, in-person, or through a third party;
              (i) Modify its policies, practices, or procedures to ensure that
              individuals with disabilities can make reservations for accessible
              guest rooms during the same hours and in the same manner as
              individuals who do not need accessible rooms;
              (ii) Identify and describe accessible features in the hotels and guest
              rooms offered through its reservations service in enough detail to
              reasonably    permit   individuals    with   disabilities   to   assess
              independently whether a given hotel or guest room meets his or her
              accessibility needs;
              (iii) Ensure that accessible guest rooms are held for use by
              individuals with disabilities until all other guest rooms of that type
              have been rented and the accessible room requested is the only
              remaining room of that type;
              (iv) Reserve, upon request, accessible guest rooms or specific types
              of guest rooms and ensure that the guest rooms requested are
              blocked and removed from all reservations systems; and
              (v) Guarantee that the specific accessible guest room reserved
              through its reservations service is held for the reserving customer,
              regardless of whether a specific room is held in response to reservations
              made by others”.


30.    “Section 36.302 of the 1991 Title III regulation requires public accommodations to make
reasonable modifications in policies, practices or procedures when such modifications are
necessary to afford access to any goods, services, facilities, privileges advantages or
accommodations, unless the entity can demonstrate that making such modifications would
fundamentally alter the nature of such goods, services, facilities, privileges, advantages or
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 8 of 22 PageID #: 8




accommodations. Hotels, timeshares resorts, and other places of lodging are subject to this
requirement and must make reasonable modifications to reservation policies, practices or
procedures when necessary to ensure that individuals with disabilities are able to reserve accessible
hotel rooms with the same efficiency, immediacy, and convenience as those who do not need
accessible rooms”. 28 C.F.R. Part 36, Appx. A.


31.    Third-Party reservation services should also be subject to these requirements.

32.    Hotels, motels and other places of lodging are required to identify and describe all
accessible features in the hotel and guestrooms; “[t]his requirement is essential to ensure
individuals with disabilities receive information they need to benefit from the services offered by
the place of lodging.” “As a practical matter, ……. designating a room as “accessible” does not
ensure necessarily that the room complies with all of the 1991 Standards.” 28 C.F.R. Part 36, Appx.
A.

33.    “Further hotel rooms that are in full compliance with current standards may differ, and
individuals with disabilities must be able to ascertain which features – in new and existing facilities
– are included in the hotel’s accessible guest rooms. For example, under certain circumstances, an
accessible hotel bathroom may meet accessibility requirements with either a bathtub or a roll in
shower. The presence or absence of particular accessible features such as these may mean the
difference between a room that is usable by a particular person with a disability and one that is
not”. 28 C.F.R. Part 36, Appx. A.


34.    For hotels that were built after the effective date of the 1991 Standards, it is sufficient to
advise that the hotel itself is fully ADA compliant, and for each accessible guestroom, to specify
the room type, the type of accessible bathing facility in the room, and the communications features
in the room. 28 C.F.R. Part 36, Appx. A.


35.    “For older hotels with limited accessibility features, information about the hotel should
include, at a minimum, information about accessible entrances to the hotel, the path of travel to
guest check-in and other essential services, and the accessible route to the accessible room or
rooms. In addition to the room information described above, these hotels should provide
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 9 of 22 PageID #: 9




information about important features that do not comply with the 1991 Standards. For example, if
the door to the “accessible” room or bathroom is narrower than required, this information should
be included (e.g., door to guest room measures 30 inches clear)”. 28 C.F.R. Part 36, Appx. A.


36.    The Hotel is a place of public accommodation that owns and/or leases and operates a place
of lodging pursuant to the ADA. Additionally, the Website is a place of public accommodation
defined as a “place[s] of exhibition and entertainment,” “places of recreation,” and “service
establishments.” 28 C.F.R. § 36.201(a); 42 U.S.C. § 12181 (7).


37.   Defendant, by themselves or by and through a third party own, operate, maintain and control
the Website and Websites which contains an online reservation system located at
https://mayflower-boutique-hotel.business.site,       www.hotels.com,        www.trip.com       and
www.booking.com. The Website and Websites are subject to the requirements of 28 C.F.R. Section
36.302(e).


38.     Prior to the commencement of this action, Plaintiff visited the Website and Websites on
various dates including January 28, 2019 and dates thereafter to learn about accessible features of
the Hotel and in order to assess whether he could reserve an accessible room at the Hotel.
However, the Plaintiff was unable to do so as the Website and Websites do not comply with the
requirements of the ADA, including the requirements contained in 28 C.F.R. § 36.302(e). The
Plaintiff and others desire to stay at the Hotel but don’t know if they are able to do so due to the
lack of information on the Website and Websites. Plaintiff plans on visiting the Website and
Websites regularly to see if the Defendants have modified their site to be in compliance with the
ADA. So far they have not.


39.    The Defendants discriminate against the Plaintiff and other disabled individuals throughout
the United States who are unable to walk and must use a wheelchair or other motorized mobility
device excluding them of the same goods, services, features, facilities, benefits, advantages and
accommodations of the Hotel and Website that are available to others.

40. The Website’s homepage does not mention any features in reference to accessibility features
of the Hotel’s room and the common areas. The problem is that the Website’s system does not
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 10 of 22 PageID #: 10




detail what kind of Hotel’s rooms they have and are the rooms accessible or not. Consequently,
Plaintiff and the Class cannot make a reservation and choose a room that they know will be
accessible. If you click the menu of the Website no information arises in reference to the
accessibility of a particular room or information for Plaintiff to decipher which room is accessible
or not. There is literally no information about the rooms and room’s accessibility features. You
can click on the Testimonials, Gallery, Contact or Get Quote but there is no narrative detailing
about the rooms and accessibility.

41.   The Website’s reservation system has to contain information as to whether any of its rooms
available on particular dates contain accessible features including but not limited to roll in showers
or bathtubs, built in seating, grab bars, lowered sinks, wrapped pipes, sink and door hardware, or
sufficient maneuvering space complaint within the room.

42.   The Website also is devoid of the accessibility information concerning common areas and
Hotel amenities and whether the Hotel is accessible in accordance with the 1991 Standards, or if
not, the ways in which it is not with regard to the Hotel’s entrance, the registration desk,
recreational facilities, the restaurants, the parking areas, business center and the routes to and from
all of the aforementioned to and from each other such that the Plaintiff, the Class and Subclass can
evaluate to determine whether the Hotel is accessible to them, although it provides very limited
information.

43.   Plaintiff has saved and retained all webpages from the Website and Websites concerning his
claim and that of the Class and Subclass.

44.   Upon information and belief, Defendants have not complied with various reservation system
requirements: (i) that accessible rooms are held for use by individuals with disabilities until all
other non-accessible guest rooms have been rented and the accessible room requested is the only
remaining room of that type [§ 36.302 (e)(1)(iii)] and (ii) the requirement to reserve, upon request,
accessible guest rooms or specific types of guest rooms and ensure that the guest rooms requested
are blocked and removed from reservation systems. 28 C.F.R. § 36.302 (e)(1)(iv).
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 11 of 22 PageID #: 11




45.     Plaintiff and the Class will visit the Website and Websites again to determine if the
Defendants have complied with the laws and to learn about the accessible (and inaccessible)
features of the Hotel and rooms because they desire to stay there.

46.   Plaintiff and other disabled individuals requiring mobility assistance are aware that the
Website is non-compliant at this time and that they have been discriminated against by the
Defendant.

47.   The Website can be viewed by individuals located in New York State in addition to the other
states of the United States and can be reached from computers, tablets and cellphones which can
access the internet.

48.   Defendants have discriminated against Plaintiff and all other mobility-impaired individuals
by denying full and equal access to and enjoyment of the goods, services, facilities, privileges,
advantages and accommodations offered on the Website in violation of the ADA.

49.   Modifying the Website and Websites to comply with the ADA is readily achievable without
undue burden.

50.   Defendants’ non-compliant acts prevents the Plaintiff, Class and Subclass from having equal
access as the remaining public preventing them from enjoying the goods, services and benefits
offered by the Website.




                      FIRST CAUSE OF ACTION ON BEHALF OF
                  THE PLAINTIFF, THE CLASS AND THE SUBCLASS
                  Violation of Title III of the Americans with Disabilities Act

51.   The Plaintiff realleges and incorporates by reference the allegations contained in
paragraphs “1” to “50” as if set forth fully herein.


52.   The Plaintiff is uniped, an amputee, and must use a wheelchair or other motorized mobility
device. The Plaintiff has an impairment that substantially limits one or more of his major life
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 12 of 22 PageID #: 12




activities and is therefore an individual with a disability as defined under the ADA, 42 U.S.C.
§ 12102(2).

53.   Title III of the ADA provides that ''No individual shall be discriminated against on the
basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,
advantages, or accommodations of any place of public accommodation by any person who
owns, leases (or leases to), or operates a place of public accommodation." 42 U.S.C. §
12182(a); 28 C.F.R. §36.201.

54.   Title III of the ADA provides that “places of public accommodation” may not
discriminate against people with disabilities.         Defendants operate a place of public
accommodation as defined by Title III of ADA, 42 U.S.C. § 12181(7) ("place of exhibition and
entertainment," "place of recreation," and "service establishments").

55.   Defendants have failed to provide accessibility features on its Website and Websites about
the Hotel, its common areas, its features, its reservation system and its rooms thereby making it
non-accessible to disabled individuals who cannot walk without the use of use a wheelchair or
other motorized mobility device.

56.   Discrimination under Title III includes the denial of an opportunity for the person who
cannot walk without the use of use a wheelchair or other motorized mobility device to participate
in programs or services or providing a service that is not equal to that afforded to others. 42
U.S.C. § 12182(b)(l)(A)(i-iii).

57.   Discrimination includes the failure to maintain accessible features of facilities and
equipment that are required to be readily accessible to and usable by persons with disability.
28 C.F.R. § 36.211.

58.    Defendants discriminate against the Plaintiff, the Class and Subclass on the basis of their
disability by denying them an equal opportunity to participate in and benefit from Defendants’
goods, services, facilities, privileges, advantages and/or accommodations in violation of Title III
of the ADA, 42 U.S.C. § 12182 (b)(l)(A)(I).
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 13 of 22 PageID #: 13




59.   It is unlawful to discriminate against individuals with disabilities or a class of individuals
having disabilities to participate in or benefit from the goods, services, facilities, privileges,
advantages, or accommodation offered to others.

60.   Failure to make modifications that are reasonable in policies, practices, or procedures,
when such modifications are necessary to afford goods, services, facilities, privileges,
advantages, or accommodations to individuals with disabilities is unlawful, unless
implementing these modifications would fundamentally alter the nature of such goods,
services, facilities, privileges, advantages or accommodations under Title III of the ADA, 42
U.S.C. § 12182(b)(2)(A)(ii).

61.   "A failure to take such steps as may be necessary to ensure that no individual with a
disability is excluded, denied services, segregated or otherwise treated differently than other
individuals because of the absence of auxiliary aids and services, unless the entity can
demonstrate that taking such steps would fundamentally alter the nature of the good, service,
facility, privilege, advantage, or accommodation being offered or would result in an undue
burden" is a prohibited discriminatory practice under Title III of the ADA, 42 U.S.C. §
12182(b)(2)(A)(iii).

62.   The Defendants’ actions or lack of actions are discriminatory acts against the Plaintiff,
the Class and the Subclass as it has denied individuals who are disabled and who cannot walk
without the use of use a wheelchair or other motorized mobility device (i) an equal opportunity
to participate and benefit from Defendants’ goods, services, facilities, privileges, advantages
and/or accommodations, in violation of 42 U.S.C. § 1282(b)(1)(A); (ii) a failure to make
reasonable modifications in policies, practices and procedures when necessary to afford the
Plaintiff, the Class and Subclass such goods, services, facilities, privileges, advantages or
accommodations in violation of 42 U.S.C. § 1282(b)(2)(A)(ii); and (iii) failing to take
necessary steps to ensure that the Plaintiff and other disabled individuals who cannot walk
without the use of use a wheelchair or other motorized mobility device are not excluded, denied
services, segregated or treated differently than others because of the absence of accessibility
features of the Defendants’ Hotel, Website and Websites, including its reservation systems.
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 14 of 22 PageID #: 14




63.   The Defendants have denied full and equal access to disabled individuals who cannot walk
without the use of use a wheelchair or other motorized mobility device to its Website and Websites
by having barriers to their services and accommodations while providing access to their services
and accommodations to non-disabled individuals.

64.   Making necessary modifications by adding proper accessibility or non-accessibility
descriptions to its Website and by updating and modifying its reservation system on its Website
and Websites to correct the ADA violations existing on the Defendants’ Website and Websites in
order to make them compliant with ADA and ADAAG requirements would not alter the nature of
Defendants’ goods, services, privileges, advantages or accommodations nor would it result in an
undue burden.

65.   The Defendants must be enjoined from engaging in these unlawful discriminatory practices
such that the Plaintiff, the Class and Subclass will no longer be discriminated against.


66.   Absent injunctive relief, there is a clear and imminent risk that the Defendants’
discriminatory actions will continue against the Plaintiff, the Class and Subclass causing
irreparable harm.



67.   Plaintiff is entitled to injunctive relief in addition to attorney fees, costs and disbursements
pursuant to the ADA, 42 U.S.C. § 12188(a)(1).


                      SECOND CAUSE OF ACTION ON BEHALF OF
                         THE PLAINTIFF AND THE SUBCLASS

                     Violation of New York State Human Rights Law


68.   The Plaintiff realleges and incorporates by reference the allegations contained in paragraphs
“1” to “67” as if set forth fully herein.


69.    At all times relevant to this action, the New York Human Rights Law (“NYHRL”),
Article 15 of the N.Y. Executive Law §§ 290 et. seq. covers the actions of the Defendants’.
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 15 of 22 PageID #: 15




70.   The Plaintiff, at all times relevant to this action, has a substantial impairment to a major
life activity of walking and is an individual with a disability under Article 15 of the N.Y.
Executive Law § 292(21).

71.    The Defendant, at all relevant times to this action, owns and operates a place of
accommodation, the Website and the Hotel, within the meaning of Article 15 of the N.Y.
Executive Law § 292(9). Defendant is a person within the meaning of Article 15 of the N.Y.
Executive Law § 292(1).

72.    The Website and Websites are gateways to and part of the Hotel which is a place of
public accommodation.

73.    Plaintiff has visited the Website and Websites and has encountered barriers of access
that exist.


74.    Pursuant to Article 15 N.Y. Executive Law § 296(2)(a) “it shall be an unlawful
discriminatory practice for any person, being the owner, lessee, proprietor, manager,
superintendent, agent or employee of any place of public accommodation ... because of the ...
disability of any person, directly or indirectly, to refuse, withhold from or deny to such person
any of the accommodations, advantages, facilities or privileges thereof."


75.    Discrimination includes the refusal to adopt and implement reasonable modifications
in policies, practices or procedures when they are necessary to afford, facilities, privileges,
advantages or accommodations to individuals with disabilities. Article 15 of the N.Y.
Executive Law§ 296(2)(a), § 296(2)(c)(i).


76.   Defendants’ actions violate Article 15 of the N.Y. Exec. Law§ 296(2)(a) by discriminating
against the Plaintiff and Subclass by (i) owning and operating the Website that is inaccessible to
disabled individuals who cannot walk without the use of use a wheelchair or other motorized
mobility device; and (ii) by not removing access barriers to its Website and Websites in order to
make accessibility features of the Hotel and its rooms known to disabled individuals who cannot
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 16 of 22 PageID #: 16




walk without the use of use a wheelchair or other motorized mobility device; and (iii) by refusing
to modify the Hotel’s online reservation systems on its Website and Websites when such
modifications are necessary to afford facilities, privileges, advantages or accommodations to
individuals with disabilities. This inaccessibility denies disabled individuals who cannot walk
without the use of use a wheelchair or other motorized mobility device full and equal access to the
facilities, goods and services that the Defendants make available to individuals who are not
disabled and can walk without the need of a wheelchair or other motorized mobility device. Article
15 of the N.Y. Exec. Law§ 296(2)(c).


77.   The Defendants’ discriminatory practice also includes, "a refusal to take such steps as may
be necessary to ensure that no individual with a disability is excluded or denied services because
of the absence of auxiliary aids and services, unless such person can demonstrate that taking such
steps would fundamentally alter the nature of the facility, privilege, advantage or accommodation
being offered or would result in an undue burden.” Article 15 of the N.Y. Exec. Law§ 296(2)(c).

78.    Established guidelines exist for making websites accessible to disabled individuals who
cannot walk without the use of use a wheelchair or other motorized mobility device and are easily
obtainable. These guidelines have been used and followed by government and businesses in
making their websites accessible to disabled individuals who cannot walk without the use of use a
wheelchair or other motorized mobility device, including but not limited to, having descriptions
of accessibility features of a Hotel or lack thereof of its entrance, its common areas, its rooms, its
travel routes to and from various components of the Hotel and having a reservation system that
does not exclude the disabled. Incorporating these components in its Website and Websites would
not fundamentally alter the Defendants’ Website, Hotel or business and would not result in an
undue burden.

79.    Defendants have intentionally and willfully discriminated against the Plaintiff and
Subclass in violation of the New York State Human Rights Law, Article 15 of the N.Y. Exec.
Law § 296(2) and this discrimination continues to date.

80.   Absent injunctive relief, Defendants’ discrimination will continue against the Plaintiff and
Subclass causing irreparable harm.
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 17 of 22 PageID #: 17




81.    Plaintiff and the Subclass are therefore entitled to compensatory damages, civil penalties
and fines for each and every discriminatory act in addition to reasonable attorney fees and the costs
and disbursements of this action. Article 15 of the N.Y. Exe. Law §§ 297(9), 297(4)(c) et seq.


                       THIRD CAUSE OF ACTION ON BEHALF OF
                         THE PLAINTIFF AND THE SUBCLASS

                          Violation of New York State Civil Rights Law

82.    The Plaintiff realleges and incorporates by reference the allegations contained in paragraphs
“1” to “81” as if set forth fully herein.


83.   Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights
Law § 41.


84.     Persons within N.Y.S. are entitled to full and equal accommodations, advantages,
facilities and privileges of places of public accommodations, resort or amusement, subject only
to the conditions and limitations established by law and applicable alike to all persons. No
persons, being the owner of a place of public accommodation, shall directly or indirectly
refuse, withhold from, or deny to any person any of the accommodations, advantages,
facilities and privileges thereof. N.Y. Civ. Rights Law § 40.

85.    No person because of disability, as defined in § 292 (21) of the Executive Law, shall be
subjected to any discrimination in his or her civil rights by person or by any firm, corporation or
institution, or by the state or any agency or subdivision. N.Y. Civ. Rights Law (“CVR”) § 40-c.

86.    § 292 of Article 15 of the N.Y. Executive Law deems a disability a physical, mental or
medical impairment resulting from anatomical, physiological, genetic or neurological
conditions which prevents the exercise of a normal bodily function. As such the Plaintiff is
disabled under the N.Y. Civil Rights Law.

87.     Defendants discriminate against the Plaintiff and Subclass under CVR § 40 as
Defendants’ Website is a public accommodation that does not provide full and equal
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 18 of 22 PageID #: 18




accommodations, advantages, facilities and privileges to all persons and discriminates against
disabled individuals who cannot walk without the use of use a wheelchair or other motorized
mobility device.

88.   Defendants intentionally and willfully failed to remove the barriers on their Websites
discriminating against the Plaintiff and Subclass preventing access in violation of CVR §40.

89.    Defendants have failed to take any steps to halt and correct its discriminatory conduct
and discriminates against and will continue to discriminate against the Plaintiff and the
Subclass members.

90.   Under N.Y. Civil Rights Law § 41 a corporation which violates any of the provisions of §§
40, 40-a, 40-b or 42 shall be liable for a penalty of not less than one hundred dollars nor more than
five hundred dollars, to be recovered by the person aggrieved thereby… in any court of competent
jurisdiction in the county in which the Plaintiff or Defendants shall reside.

91.   Plaintiff and the Subclass hereby demand compensatory damages of five hundred dollars for
the Defendants’ acts of discrimination including civil penalties and fines pursuant to N.Y. Civil
Law § 40 et seq..


                      FOURTH CAUSE OF ACTION ON BEHALF OF
                         THE PLAINTIFF AND THE SUBCLASS

                         Violation of New York City Human Rights Law


92.    The Plaintiff realleges and incorporates by reference the allegations contained in paragraphs
“1” to “91” as if set forth fully herein.


93.    At all times, the New York City Human Rights Law (“NYCHRL”), New York City
Administrative Code §§ 8-101 et. seq. applied to the conduct of the Defendants as the
Defendants own and operates the Website and is a person under the law.
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 19 of 22 PageID #: 19




94.    At all times concerning this action the Plaintiff and the Subclass have had a substantial
impairment to a major life activity of walking and are individuals with a disability under
N.Y.C. Administrative Code § 8-102(16).

95.    At all times concerning this action the Defendants’ Website is a place of public
accommodation as defined in N.Y.C. Administrative Code § 8-102(9).

96.    “It shall be an unlawful discriminatory practice for any person, being the owner, lessee,
proprietor, manager, superintendent, agent or employee of any place or provider of public
accommodation, because of the actual or perceived ……. disability …. of any person to
withhold from or deny to such person any of the accommodations required to make reasonable
accommodations to a disabled individual and may not “refuse, withhold from or deny to such
person any of the accommodations, advantages, facilities or privileges thereof” N.Y.C.
Admin. Code § 8-107(4)(a).

97.    The willful and intentional non-removal of the Website’s and Websites barriers of access
for the Plaintiff and the Subclass by the Defendants discriminate against disabled individuals who
cannot walk without the use of use a wheelchair or other motorized mobility device by denying
them full and equal access to the facilities, goods, and services that Defendants make available to
the non-disabled individuals who can walk without the use of use a wheelchair or other motorized
mobility device.

98.    It is discriminatory for the Defendants “not to provide a reasonable accommodation to enable
a person with a disability to …. enjoy the right or rights in question provided that the disability is
known or should have been known by the covered entity." N.Y.C. Administrative Code § 8-
107(15)(a).

99.     Defendants’ actions will continue to prevent the Plaintiff and Subclass from accessing the
Website as the remaining public can and the Plaintiff requests injunctive relief.

100.     Plaintiff and Subclass are also entitled to compensatory damages for the injuries and loss
sustained as a result of the Defendants’ discriminatory conduct in addition to punitive damages
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 20 of 22 PageID #: 20




and civil penalties and fines for each offense, attorney fees, costs and disbursements of this action.
N.Y.C. Administrative Code § 8-120(8), § 8-126(a) and § 8-502(a).



               FIFTH CAUSE OF ACTION ON BEHALF OF THE PLAINTIFF
                  CLASS AND SUBCLASS FOR DECLARATORY RELIEF

101.     The Plaintiff realleges and incorporates by reference the allegations contained in paragraphs
“1” to “100” as if fully set forth herein.


102.     The Plaintiff claims that the Website and Websites contain barriers denying disabled
individuals who cannot walk without the use of a wheelchair or other motorized mobility device
full and equal access to the goods and services of the Website.

103.    Defendants’ Website and Websites fail to comply with applicable laws and the Defendants
discriminate against the Plaintiff and Subclass under Title III of the Americans with Disabilities
Act, 42 U.S.C. § 12182, et seq., N.Y. Exec. Law§ 296, et seq., and N.Y.C. Administrative Code §
8-107, et seq.

104.     The Defendants deny these claims.

105.     The Plaintiff seeks a declaratory judgment such that the parties understand and know their
respective rights and obligations.


                                         PRAYER FOR RELIEF

     WHEREFORE, Plaintiff requests relief as follows:


a.     A declaratory judgment pursuant to Federal Rules of Civil Procedure Rule 57 declaring the
Defendants’ policies, procedures and practices are discriminatory against the Plaintiff in violation
of Title III of the Americans with Disabilities Act, The New York Human Rights Law, the New
York City Human Rights Law and the laws of New York;
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 21 of 22 PageID #: 21




b. Enjoining the Defendants from actions that deny disabled individuals who cannot walk without
the use of use a wheelchair or other motorized mobility device access to the full and equal
enjoyment of Defendants’ Website and Websites and from violating the Americans with
Disabilities Act, 42 U.S.C. § 12182, et seq., N.Y. Exec. Law§ 296, et seq., N.Y.C. Administrative
Code§ 8-107, et seq., and the laws of New York;



c.   An Order of the Court requiring the Defendants to make the Website and Websites fully
compliant with the requirements set forth in the ADA, and its regulations pursuant to 28 C.F.R. §
36.302(e)(1) and the 2010 ADAAG Standards, so that the Website is readily accessible to and
usable by disabled individuals who cannot walk without the use of use a wheelchair or other
motorized mobility device;



d.    An Order of the Court which certifies this case as a class action under Fed. R. Civ. P. 23(a)
& (b)(2) and/or (b)(3); appointing Plaintiff as Class Representative; and his attorney as counsel for
the Class;


e.   Compensatory damages, statutory penalties and fines for Plaintiff and the proposed Subclass
for violations of their civil rights under the New York State Human Rights Law;


f.   Compensatory damages, statutory penalties and fines for Plaintiff and the proposed Subclass
for violations of their civil rights under the New York State Civil Rights;


g.   Compensatory damages, punitive damages, statutory penalties and fines for Plaintiff and the
proposed Subclass for violations of their civil rights under the New York City Human Rights Law;


h.   Reasonable costs, disbursements and Plaintiff’s attorney fees pursuant to the ADA, New York
Human Rights Law, New York City Human Rights Law and the laws of New York;


i.   For pre-judgment and post-judgment interest to the highest extent permitted by law; and
Case 1:20-cv-04124-FB-RLM Document 1 Filed 09/03/20 Page 22 of 22 PageID #: 22




j.   Such other and further relief as the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

Plaintiff, on behalf of himself the Class and Subclass demands a trial by jury on all issues and
requested relief.

Dated: Great Neck, New York
       September 3, 2020                              /s/ Mitchell Segal
                                                ________________________
                                                Mitchell Segal, Esq.
                                                 Law Offices of Mitchell Segal, P.C.
                                                 Attorneys for Plaintiff, the Class and Subclass
                                                1010 Northern Boulevard, Suite 208
                                                Great Neck, New York 11021
                                                Ph. (516) 415-0100
                                                 Fx. (516) 706-6631
